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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                            Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,                                   [PROPOSED] ORDER REGARDING
STATE OF MARYLAND,                                   POST-HEARING BRIEFING
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.


        Plaintiffs Federal Trade Commission, the States of Arizona, California, Illinois,

Maryland, Nevada, New Mexico, Oregon, and Wyoming, and the District of Columbia, and

Defendants The Kroger Company and Albertsons Companies, Inc., by and through their

respective counsel, have stipulated to the terms of this Post-Hearing Order.

        IT IS HEREBY ORDERED THAT

        The Parties shall submit proposed findings of fact, conclusions of law, and supporting

        memoranda, not to exceed a combined 135 pages, by 5:00 p.m. Pacific Time on

        September 27, 2024.



[PROPOSED] ORDER
POST-HEARING BRIEFING
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      SO ORDERED.

                                     _____________________________________
                                     UNITED STATES DISTRICT JUDGE


DATED: ___________________, 2024




[PROPOSED] ORDER
POST-HEARING BRIEFING
                                      2
